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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                          CASE NO. 23-21023-CIV-ALTONAGA/Damian

  EDWIN GARRISON, et al.,

          Plaintiffs,
  v.

  KEVIN PAFFRATH, et al.,

        Defendants.
  __________________________/

                                               ORDER

          THIS CAUSE came before the Court sua sponte. While Defendant, Creators Agency,

  LLC, appears to have been served (see Return of Service [ECF No. 17]), to date, no proof of

  service on the remaining Defendants has been filed. To better manage the orderly progress of the

  case, it is

          ORDERED that Defendant, Creators Agency, LLC, and all later served Defendants shall

  not file responses until all Defendants have been served. After all Defendants have been served,

  Defendants shall submit a single, combined response or separate answers within the time allowed

  for the last-served Defendant to respond. Although Defendants are not required to file responses

  to the Complaint until all Defendants have been served, each Defendant’s counsel shall file a notice

  of appearance within 21 days of service of the Complaint upon that Defendant.

          DONE AND ORDERED in Miami, Florida, this 3rd day of April, 2023.



                                                  ________________________________________
                                                  CECILIA M. ALTONAGA
                                                  CHIEF UNITED STATES DISTRICT JUDGE

  cc:     counsel of record
